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UN|TED STATES DlSTR|CT COURT "i'~i.- .
WESTERN DlSTR|CT OF TENNESSEE
MEMPH|S D|VlSlON 05 3.:;3"5 rio ~i,§“`i '.~` ii

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-V- 2:O4CR20031-02-D

.-- : \/-`

TOMMY TAYLOR
Lorna McC|usky, CJA
Defense Attorney
3074 East Street
Memphis, TN 38128

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 3 of the indictment on November 29, 2004.

According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tit|e & Section Nature of Of'fense Offense Number(sj
Concluded
18 U.S.C. § 371 Conspiracy to Possess Sto|en lVlai| and 10/24/2002 3

Commit Access Device Fraud

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/|andatory
Victims Restitution Act of 1996

Count(s) 1 & 4 are dismissed on the motion of the United States.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney forthis district
Within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 09/30/1953 April 13, 2005
Deft’s U.S. lVlarsha| No.: 19467-076

Defendant's lVlailing Address:
5384 Horshoe Trail #2
Memphis, TN 38115

    

BERN|CE B. DONALD
UNITED STATES DlSTRFCT JUDGE

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This docL.ment entered on the clock Aprilol;'"’ 2005

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|MPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of

Prisons to be imprisoned for a term of 10 Months to run concurrently with defendant’s
State Sentence.

The defendant is remanded to the custody of the United States |V|arshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UNiTED STATES l\/IARSHAL
By:

 

Deputy U.S. Marshal

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Case No.l 2:04CR20031-02 Defendant Name: Tommy TAYLOR Page 3 of 6

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal1 state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation oft":cer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schoolihg, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

d istribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soldl used,
distributed, or administered;

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8.

10.

11.

12.

13.

The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Nlonetary Pena|ties sheet of thisjudgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised

release:

The defendant shall participate in substance abuse testing and treatment as directed by the

Probation Ofl'icer;

The defendant shall seek and maintain full-time employment and report employment to the

Probation Officer;

The defendant shall provide the Probation Officer access to any requested financial

information;

The defendant shall be prohibited from incurring new credit charges or opening additional

lines of credit without the approval of the Probation Officer;

The defendant shall cooperate with DNA collection as directed by the Probation Officer.

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CR|M|NAL MONETARY PENALTIES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ai| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00 $1,078.01

The Speciai Assessment shall be due immediately

FlNE
No fine imposed.

REST|TUT|ON
Restitution in the amount of $1,078.01 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

Priority
Total Amount of Order
Name of Payee Amount Restitution Ordered or
of Loss Percentage
of Payment
USAA Federal Savings $1,078.01 $1,078.01
Bank

Attn: Nladeiyn Gamer,
Bank Fraud investigations
10750 iVchermott Hwy
San Antonio, TX 78288

if the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othenivise in the priority order or percentage payment column
above.

The amount of loss and the amount of restitution ordered will be the same unless, pursuant
to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is reflected in the
Statement of Reasons page.

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SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

Defendant shall pay restitution in regular monthly installments of not less than 10%
ofgross monthlyincome. interest requirement is waived. Defendantshaii notify the
Court and the U.S. Attorney of any material change in economic circumstances that
might affect the defendant’s ability to pay restitution

Unless the court has expressly ordered othenivise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penaities, except those payments made through the
Federal Bureau of Prisons’ inmate Financia| Responsibility Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

Joint and Several
Defendant Name, Case Number, and Joint and Several Amount:

Meiba l\/lalone, 2:04CR20031-O1, $1078.01

Payments shall be applied in the following order: (1) assessmentl (2) restitution principal, (3)
restitution interest, (4) fine principai, (5) community restitution, (6) fine interest, (7) penalties, and
(8) costl including cost of prosecution and court costs.

   

UNITED sATE DlSTRICT COURT - WTERN DlSTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 81 in
case 2:04-CR-20031 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

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Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

